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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE

                                    United States of America
                                                  v.
                                          Crystal Hardy
                                        1:19-cr-00250-PB-1

                                    MOTION TO SUPPRESS

       The Defendant, through counsel, John P. Newman, Esq., hereby moves to suppress

evidence in the above-captioned case.

       In support, it is stated:

       1. The United States has charged the Defendant with 21 U.S.C. 841(a)(1) and 846:

           Conspiracy to Distribute and Possess with Intent to Distribute a Controlled Substance.

       2. The charges arise from an initial search of the defendant’s vehicle after a traffic stop.

       3. The evidence obtained in the initial search was used to obtain statements from Ms.

           Hardy as well a search warrant.

       4. Further evidence was obtained upon execution of the warrant.

       5. The defendant moves to suppress the evidence obtained in the initial search,

           statements made by the Defendant after the initial search, and the evidence obtained

           pursuant to the warrant, as the statements and the second search are the fruits of the

           initial illegal search

       6. The defendant requests an evidentiary hearing.

       7. A Memorandum of Law is attached.

       8. The United States objects to the relief sought herein.

       WHEREFORE, the defendant respectfully requests that this Court:

               a.      Grant the within Motion;
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               b.     Schedule an evidentiary hearing;

                c.    Suppress all evidence seized from the defendant’s vehicle on or about

                      April 5-6, 2019;

                d.    Suppress all statements made by the Defendant on April 5, 2019 in

                      relation to the items found in her vehicle; and,

                e.    Grant such relief as the Court deems necessary, just and fair.

                                                     Respectfully submitted,

                                                      /s/ John P. Newman
                                                     John P. Newman, Esq.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Motion has been forwarded by electronic
mail through the ECF system on January 12, 2021 to Debra M. Walsh, Esq., and to Patrick
Richard, Esq., counsel for the codefendant, Christopher Kelly.

                                                      /s/ John P. Newman
                                                     John P. Newman
